UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :         21cv714(DLC)
MARIA MIRANDA,                         :
                                       :      NOTICE OF INITIAL
                         Plaintiff,    :     PRETRIAL CONFERENCE
               -v-                     :
                                       :
CITY OF NEW YORK et al.,               :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X
DENISE COTE, District Judge:

     This case has been assigned to me for all purposes. Due to
the COVID-19 pandemic, the initial pretrial conference will be
held telephonically. Prior to the date of the conference,
counsel for all parties shall register as filing users in
accordance with the Procedures for Electronic Case Filing.

     Counsel for all parties are directed to participate in the
initial pretrial conference at the time and using the dial-in
instructions listed below. Counsel are directed to confer with
each other prior to the conference regarding settlement and each
of the other subjects to be considered at a Fed. R. Civ. P. 16
conference, and to prepare and file a detailed written proposed
schedule for any motions and discovery.

     If this case has been settled or otherwise terminated,
counsel are not required to participate in the conference,
provided that a stipulation of discontinuance, voluntary
dismissal, or other proof of termination is filed prior to the
date of the conference via e-mail to the Orders and Judgments
Clerk at the following e-mail address:
judgments@nysd.uscourts.gov.

     All conferences with the Court are scheduled for a specific
time; there is no other matter scheduled for that time; and
counsel are directed to be available promptly. The attorney who
will serve as principal trial counsel must participate in the
conference.

     Requests for adjournment shall be made no later than four
business days before the conference and shall be made in a
letter filed on ECF in accordance with the S.D.N.Y. Electronic
Case Filing Rules and Instructions. The written submission must
(a) specify the reasons for the adjournment, (b) state whether
the other parties have consented, and (c) indicate times and
dates on succeeding Fridays when all counsel are available.
Unless counsel are notified that the conference has been
adjourned it will be held as scheduled.

     YOU ARE DIRECTED (i) TO SO NOTIFY ALL ATTORNEYS IN THIS
ACTION BY SERVING UPON EACH OF THEM A COPY OF THIS NOTICE AND
THE COURT'S INDIVIDUAL PRACTICES FORTHWITH, AND (ii) TO FILE
PROOF OF SUCH NOTICE WITH THE COURT. IF YOU ARE UNAWARE OF THE
IDENTITY OF COUNSEL FOR ANY OF THE PARTIES, YOU MUST FORTHWITH
SEND A COPY OF THE NOTICE AND PRACTICES TO THAT PARTY
PERSONALLY.

     DATE OF CONFERENCE: JUNE 11, 2021 AT 3:00 P.M.

     The parties shall use the following dial-in credentials for
the conference.

          Dial-in:       888-363-4749
          Access code:   4324948

     The parties shall use a landline if one is available.

     SO ORDERED:

Dated:    New York, New York
          March 3, 2021

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                                       DENISE COTE
                               United States District Judge




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